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7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                            No. Cr. F 11-434 LJO
12                             Plaintiff,                 STIPULATED MOTION AND ORDER TO
                                                          REDUCE SENTENCE PURSUANT TO 18
13             v.                                         U.S.C. § 3582(c)(2)
14   SERGIO HECTOR AGUILAR,                               RETROACTIVE DRUGS-MINUS-TWO
                                                          REDUCTION CASE
15                             Defendant.
                                                          Judge: Honorable LAWRENCE J. O’NEILL
16
17             Defendant, SERGIO HECTOR AGUILAR, by and through his attorney, Assistant
18   Federal Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and
19   through its counsel, Assistant U.S. Attorney Kathleen A. Servatius, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On July 8, 2013, this Court sentenced Mr. Aguilar to a term of 94 months

25   imprisonment, to be served concurrently with Cr. F 96-5040 LJO;

26             3.         His total offense level was 31, his criminal history category was III, the resulting

27   guideline range was 135 to 168 months, and he received a reduction from the low end of the

28   applicable guideline range on the government’s motion;

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1              4.         The sentencing range applicable to Mr. Aguilar was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Aguilar’s total offense level has been reduced from 31 to 29, and his amended
5    guideline range is 108 to 135 months; a reduction comparable to the one received at the initial
6    sentencing would produce a term of 76 months; and,
7              6.         Accordingly, the parties request the Court enter the order lodged herewith
8    reducing Mr. Aguilar’s term of imprisonment to a total term of 76 months.
9    Respectfully submitted,
10   Dated: February 25, 2015                           Dated: February 25, 2015
11   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
12
13   /s/ Kathleen A. Servatius                          /s/ David M. Porter
     KATHLEEN A. SERVATIUS                              DAVID M. PORTER
14   Assistant U.S. Attorney                            Assistant Federal Defender
15   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           SERGIO HECTOR AGUILAR
16
17                                                     ORDER
18             This matter came before the Court on the stipulated motion of the defendant for reduction
19   of sentence pursuant to 18 U.S.C. § 3582(c)(2).
20             The parties agree, and the Court finds, that Mr. Aguilar is entitled to the benefit
21   Amendment 782, which reduces the total offense level from 31 to 29, resulting in an amended
22   guideline range of 108 to 135 months. A reduction comparable to the one received at the initial
23   sentencing would produce a term of 76 months.
24             IT IS HEREBY ORDERED that the term of imprisonment imposed in July 2013 is
25   reduced to a term of 76 months. to be served concurrently with Cr. F 96-5040 LJO.
26             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
27   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
28

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1    reduction in sentence, and shall serve certified copies of the amended judgment on the United
2    States Bureau of Prisons and the United States Probation Office.
3              Unless otherwise ordered, Mr. Aguilar shall report to the United States Probation Office
4    within seventy-two hours after his release.
5
     IT IS SO ORDERED.
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7         Dated:         February 26, 2015                    /s/ Lawrence J. O’Neill
                                                           UNITED STATES DISTRICT JUDGE
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     Stipulation and Order Re: Sentence Reduction      3
